      Case 1-25-41368-jmm              Doc 65       Filed 06/03/25   Entered 06/03/25 08:00:24




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------x
 In re:
                                                               Chapter 11
 Avon Place LLC,
                                                               Case No. 25-41368-jmm
                                          Debtor.
-------------------------------------------------------x

     ORDER SCHEDULING HEARING ON 44 AVONWOOD ROAD CREDIT LLC’S
                        MOTION TO CONVERT

                 WHEREAS, 44 Avonwood Road Credit LLC (the “Movant”) filed a motion

seeking to convert this chapter 11 bankruptcy case to a chapter 7 case under the Bankruptcy

Code (the “Motion”) [ECF No. 63]; and

                 WHEREAS, the Movant filed an application [ECF No. 64] seeking an expedited

hearing on the Motion; and

                 WHEREAS, cause exists for an expedited hearing on the Motion.

                 NOW, THEREFORE, it is hereby

                 ORDERED, that Court will hold a hearing on the Motion before Judge Jil Mazer-

Marino of the United States Bankruptcy Court, Eastern District of New York, 271-C, Courtroom

3529, Cadman Plaza East, Brooklyn, New York 11201 on June 11, 2025, at 10:30 a.m. (the

“Hearing”); and it is further

                 ORDERED, that the Hearing may be held in person, by phone, or by

videoconference. Regardless of whether you intend to appear in person, by phone, or by

videoconference, those intending to appear at the Hearing must register with eCourt Appearances

no later than two (2) days prior to the Hearing. The phone number or video link for the Hearing

will be emailed only to those that register with eCourt Appearances in advance of the
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Hearing. Instructions for registering with eCourt Appearances can be found

at https://www.nyeb.uscourts.gov/node/2126. If you do not have internet access or are otherwise

unable to register with eCourt Appearances, you may call or email Judge Mazer-Marino’s

courtroom deputy for instructions at (347) 394-1844, JMM_Hearings@nyeb.uscourts.gov; and it

is further

               ORDERED, that the Movant shall serve a copy of this Order Scheduling Hearing

together with the Motion on (1) Avon Place LLC (the “Debtor”), (2) Debtor’s counsel, (3)

Debtor’s CRO, David Goldwasser, (4) the U.S. trustee, (5) secured creditors, and (6) any

additional parties who filed a notice of appearance, by email and overnight mail, by June 4,

2025, which shall be deemed good and sufficient service hereof; and it is further

               ORDERED, that the Movant shall file a certificate of service with the Court by

June 10, 2025, evidencing the Movant’s compliance with the service requirements in this Order

Scheduling Hearing; and it is further

               ORDERED, that objections or responses to the Motion may be interposed at the

Hearing.




 Dated: June 3, 2025                                            ____________________________
        Brooklyn, New York                                             Jil Mazer-Marino
                                                                 United States Bankruptcy Judge
